                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TERRY LYNN KING,                                   )
                                                   )
       Plaintiff,                                  )       CAPITAL CASE
                                                   )
v.                                                 )       Case No. 3:18-cv-01234
                                                   )
LISA HELTON, et al.,                               )       JUDGE CAMPBELL
                                                   )
       Defendants.                                 )




DONALD MIDDLEBROOKS,                               )
                                                   )
       Plaintiff,                                  )       CAPITAL CASE
                                                   )
v.                                                 )       Case No. 3:19-cv-01139
                                                   )
LISA HELTON, et al.,                               )       JUDGE CAMPBELL
                                                   )
       Defendants.                                 )




     DEFENDANTS’ NOTICE OF INACCURACIES OR MISSTATEMENTS TO BE
                             CORRECTED


       Undersigned counsel for Defendants Lisa Helton and Tony Mays respectfully give notice

that they have learned there may be factual inaccuracies or misstatements in some of Defendants’

filings. As required by Fed. R. Civ. P. 11(b) and Tennessee Rule of Professional Conduct 4.1(a),

undersigned counsel for the Defendants will correct any inaccuracies and misstatements once the

truth has been ascertained.




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                                            Respectfully submitted,



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                               CERTIFICATE OF SERVICE


       I certify that on May 6, 2022, a copy of the foregoing was filed and served via the Court’s

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